           Case 2:22-cv-02313-DAD-CKD          Document 32        Filed 11/01/23     Page 1 of 3



 1
 2   A PROFESSIONAL CORPORATION
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 3   Matthew W. Gross, SBN 324007
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 5   TEL: 916.929.1481
     FAX: 916.927.3706
 6   wcamy@porterscott.com
     mgross@porterscott.com
 7   Attorneys for Defendants
     COUNTY OF BUTTE AND BUTTE COUNTY SHERIFF KORY HONEA
 8
 9                                    UNITED STATES DISTRICT COURT
                             IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12
     MICHAEL ERNEST MITCHUM JR.,                        Case No.: 2:22-cv-02313-DAD-CKD
13
                        Plaintiff,                      EX PARTE APPLICATION FOR EXTENSION
14                                                      OF TIME FOR DEFENDANTS COUNTY OF
     vs.                                                BUTTE AND SHERIFF KORY HONEA TO FILE
15                                                      RESPONSIVE PLEADING TO PLAINTIFF’S
     BUTTE COUNTY SHERIFF KORY HONEA;                   COMPLAINT
16   COUNTY OF BUTTE,

17                      Defendants,
                                                        Compl. Filed: 12/29/2022
18
                                                    /
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20
                                               EX PARTE APPLICATION
21
             In accordance with United States District Court Eastern District of California Local Rule 144(c),
22
     Defendants COUNTY OF BUTTE and SHERIFF KORY HONEA (collectively “Defendants”) hereby
23
     submit this Ex Parte Application for an Order to Extend Defendants’ Time to File a Responsive Pleading
24
     to Plaintiff’s Complaint. As further set forth in the Declaration of Matthew W. Gross filed in Support of
25
     this Application, the parties have been unable to meet and confer due to Plaintiff’s currently being
26
     incarcerated. (Declaration of Matthew W. Gross, “Gross Decl.,” ¶¶ 3-7.)
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             The requested extension of time is sought on good faith grounds necessary for Counsel for
28
      {02058549.DOCX}
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       EX PARTE APPLICATION FOR EXTENSION OF TIME FOR DEFENDANTS COUNTY OF BUTTE AND SHERIFF
                 KORY L. HONEA TO FILE RESPONSIVE PLEADING TO PLAINTIFF’S COMPLAINT
         Case 2:22-cv-02313-DAD-CKD             Document 32        Filed 11/01/23     Page 2 of 3



 1   Defendants to be able to properly determine the viability of the allegations set forth in the Complaint.
 2   Counsel for Defendants received the pleadings for this matter on October 27, 2023. Furthermore, no prior
 3   extensions have been sought in this matter. As noted in Local Rule 144(c), the first initial extension
 4   requested through an ex parte is ordinarily granted. Furthermore, there is no prejudice to the Plaintiff in
 5   the requested extension to permit Defendants to examine the allegations and pleadings in this case.
 6           Accordingly, Defendants respectfully request the Court grant Defendants a 28-day extension to
 7   file a responsive pleading, making Defendants’ deadline to file a responsive pleading November 29, 2023.
 8
 9
10   Dated: November 1, 2023                              PORTER SCOTT
                                                          A PROFESSIONAL CORPORATION
11
12                                                        By _/s/ Matthew W. Gross_________
                                                                  William E. Camy
13                                                                Matthew W. Gross
                                                                  Attorneys for Defendants
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       EX PARTE APPLICATION FOR EXTENSION OF TIME FOR DEFENDANTS COUNTY OF BUTTE AND SHERIFF
                 KORY L. HONEA TO FILE RESPONSIVE PLEADING TO PLAINTIFF’S COMPLAINT
         Case 2:22-cv-02313-DAD-CKD                     Document 32            Filed 11/01/23          Page 3 of 3


     CASE NAME: Mitchum v. Butte County, et al.
 1
     CASE NO.: Eastern District of CA Case No. 2:22-cv-02313
 2
                                                PROOF OF SERVICE
 3
             I am a resident of the United States and of the County, of Sacramento, California. I am over the
 4   age of eighteen years and not a party to the within above-entitled action. My business address is 2180
     Harvard Street, Suite 500, Sacramento, California.
 5           I am familiar with this Company's practice whereby the mail, after being placed in a designated
     area, is given the appropriate postage and is deposited in a U.S. mailbox in the City of Sacramento,
 6
     California, after the close of the day's business.
 7           That on the date below, I served the following EX PARTE APPLICATION FOR EXTENSION
     OF TIME FOR DEFENDANTS COUNTY OF BUTTE AND SHERIFF KORY L. HONEA TO
 8   FILE RESPONSIVE PLEADING TO PLAINTIFF’S COMPLAINT on all parties in the said action
     as addressed below by causing a true copy thereof to be served:
 9
10       XX      BY MAIL: I placed the envelope for collection and mailing, following our ordinary business practices. I
                 am readily familiar with this business’ practice for collecting and processing correspondence for mailing.
11               On the same day that correspondence is placed for collection and mailing, it is deposited in the ordinary
                 course of business with the United States Postal Service, in a sealed envelope with postage fully prepaid.
12               □ Certified Mail/Return Receipt Requested, Article #
                 BY PERSONAL SERVICE: I caused such document to be personally delivered to the person(s)
13               addressed below. (1) For a party represented by an attorney, delivery was made to the attorney or at the
                 attorney’s office by leaving the documents, in an envelope or package clearly labeled to identify the
14               attorney being served, with a receptionist or an individual in charge of the office, between the hours of
                 nine in the morning and five in the evening. (2) For a party, delivery was made to the party or by leaving
15               the documents at the party’s residence with some person not younger than 18 years of age between the
                 hours of eight in the morning and six in the evening.
16               BY OVERNIGHT DELIVERY: I enclosed the documents in an envelope or package provided by an
                 overnight delivery carrier and addressed to the person(s) listed below. I placed the envelope or package
17               for collection and overnight delivery at my office or a regularly utilized drop box of the overnight delivery
                 carrier.
18               BY ELECTRONIC SERVICE: Based on a court order or an agreement of the parties to accept service
                 by electronic transmission, I caused the documents to be sent to the persons at the electronic notification
19               address listed below.

20
     Addressed as follows:
21   Pro Per
     Michael Mitchum #166925
22
     Butte County Jail
23   7 Gillick Way
     Oroville, CA 95965
24
             I declare under penalty of perjury under the laws of the State of California that the foregoing is
25
     true and correct. Executed at Sacramento, California on November 1, 2023.
26
                                                                    ___________________________________
27
                                                                    Kristena Champlin
28
      {02058549.DOCX}
                                                  3
       EX PARTE APPLICATION FOR EXTENSION OF TIME FOR DEFENDANTS COUNTY OF BUTTE AND SHERIFF
                 KORY L. HONEA TO FILE RESPONSIVE PLEADING TO PLAINTIFF’S COMPLAINT
